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 1   Michael J. Aguirre, Esq., SBN 060402
     maguirre@amslawyers.com
 2   Maria C. Severson, Esq., SBN 173967
     mseverson@amslawyers.com
 3   AGUIRRE & SEVERSON, LLP
     501 West Broadway, Suite 1050
 4   San Diego, CA 92101
     Telephone: (619) 876-5364
 5   Facsimile: (619) 876-5368
 6   Catherine Janet Kissee-Sandoval
     Csandoval@scu.edu
 7   Santa Clara University School of Law
     500 El Camino Real
 8   Santa Clara, CA 95053-0421
     Telephone: (408) 551-1902
 9   Facsimile: (408) 554-4426
10   Attorneys for Amici Alex Cannara
     and Gene A. Nelson
11

12
                              UNITED STATES DISTRICT COURT
13
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15
     UNITED STATES OF AMERICA,                          Case No. CR 14 -0175 WHA
16
                                   Plaintiff,
17                                                      AMICI BRIEF IN RESPONSE TO THE
             v.                                         COURT’S ORDER TO SHOW CAUSE
18                                                      RE CONDITIONS OF PROBATION
     PACIFIC GAS AND ELECTRIC                           [DOCUMENT NO. 1277, 1280]
19   COMPANY,
                                                        Judge: Hon. William Aslup
20                                Defendant.
21                                                      Hearing Date: February 3, 2021
                                                        Time: 8:00 a,m.
22                                                      Location: by Zoom (if not in person)
23

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     AMICI BRIEF IN RESPONSE TO THE COURT’S OSC
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 1             Amici Alex Cannara and Gene A. Nelson, pursuant to the Court’s Order
 2   (Document No. 1280), respectfully submit this amici curiae brief in response to the
 3   Court’s order to show cause (OSC) dated December 29, 2020. (Document No. 1277).
 4   Amici discuss several reasons why we believe additional conditions should be added
 5   to PG&E’s probation to protect public safety, reduce the likelihood of the Offender
 6   committing additional crimes, and to promote the Offender’s rehabilitation. Amici
 7   offer additional conditions to improve PG&E’s information and record-keeping
 8   management that drives its vegetation management and operational activities and
 9   deficiencies, including PG&E’s criminally reckless conduct.
10

11
           I. Improving PG&E’s Vegetation Management, and the Information
           Management, Record-Keeping, and Information Communication Systems
12         that Drive PG&E’s Management and Operation, is Critical to Public Safety
13         and Preventing the Offender from Committing Additional Crimes

14              As the Court’s OSC notes on pgs. 13-15, by PG&E’s own admission,
15   “[v]egetation-caused ignitions are one of the largest drivers of utility-caused
16   wildfires, and the largest driver in HFTD [High Fire-Threat Districts] areas. We
17   estimate that 70 percent of the time, if identified vegetation is not worked, it can
18   cause a power-line failure under high fire threat weather conditions.”1
19             PG&E’s recklessly irresponsible information and record-keeping management,
20   data operations, and information communication (collectively “Data Operations”)
21   undermine the effectiveness of its operations, vegetation management, and the
22   proposed probation conditions. PG&E’s information management and record-
23   keeping failures are fundamentally management failures that predicate fires,
24   explosions, and other hazards. PG&E is (or should be) an information management
25   company, that uses its information and records to manage its physical assets, assess
26

27
     1
       Pacific Gas and Electric Company Quarterly Report on 2020 Wildfire Mitigation Plan for May
28
     to July 2020 (Sept. 9, 2020), at 11.
                                                   1
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 1   and report on its practices and asset conditions, and deploy its workforce, hardware,
 2   software, and information assets and analysis to ensure safe and reliable operation.
 3          Amici support the Court’s proposed probation conditions 11 and 12 to protect
 4   the public from further death and destruction and to help rehabilitate the Offender
 5   (18 U.S.C. §§ 3553(a)(1), (a)(2)), with an edit to condition 11 proposed by Amici as
 6   indicated below in bold:
 7          11. In determining which distribution lines in Tier 2 or Tier 3 to de-
 8
            energize during a PSPS, PG&E must take into account all information
            in its possession and in the possession of its contractors and
 9          subcontractors concerning the extent to which trees and/or limbs
10          bordering those lines remain in violation of Public Resources Code
            Section 4293, GO 95, the California Public Utilities Code, the
11          CPUC’s Orders, Decisions, or rules, FERC FAC-003-4, and/or its
12          own wildfire mitigation plan as approved by the CPUC.

13          12. To the extent that such information shows that such trees and limbs
14          present a safety hazard in the event of a windstorm, PG&E must make
            a specific determination with respect to that distribution line and it must
15          de-energize it unless PG&E finds in writing that there are specific
16          reasons to believe that no safety issue exists.

17          These conditions appropriately require PG&E to take into account the
18   necessary factor of the status of its vegetation management and compliance with
19   federal and state law. Amici suggest including reference to the California Public
20   Utilities Code, the CPUC’s Orders, Decisions, or rules, as compliance factors that
21   should be taken into account in deenergization decisions since General Order (GO)
22   95 relies on the California Public Utilities Code and does not displace other
23   statutory duties such as the duty to provide safe, reliable service under Cal. Pub.
24   Util. Code § 451. PG&E should be required to consider compliance with its wildfire
25   mitigation plan as approved by the CPUC in deenergization and operational
26   decisions, recognizing that plan does not displace other responsibilities under the
27   Public Utilities Code, Public Resources Code § 4293, and FERC FAC-003-4
28   requiring vegetation management near transmission lines.
                                                             2
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 1         To safely operate as required by Public Utilities Codes §§ 451 and 8386(a),
 2   PG&E should have been considering its compliance with state and federal law and
 3   the status of its work in its operational decision including power shutoffs. Amici
 4   suggests that the court add the following conditions to ensure that complete and
 5   accurate information, information systems and management inform those decisions,
 6   as well as the status of compliance with federal and state law.
 7         It is vital to public safety that recidivist PG&E improve the integrity and
 8   accuracy of information in its and its subcontractors’ possession, its information and
 9   record-keeping management systems, and communication of that information.
10   Through adoption of Amici’s proposed conditions 13-16, below, this Court should
11   ensure that PG&E’s poor information and record management do not undermine the
12   information that informs its actions and decision-making about deenergization,
13   planning to avoid the need for power shutoffs, and operational and strategic
14   decisions and conduct.
15         II.      Amici’s Proposed Conditions 13-16 and Summary Analysis
16         Amici respectfully suggest that this court add the following conditions to the
17   Offender’s probation, numbered for purposes of tracking:
18         Proposed Condition 13:
19         PG&E shall hire a Chief Data Operations Officer within 90 days with
           responsibility over a sufficient staff or no fewer than 10 data operations,
20         information management, record-keeping, engineering, and legal
21         professionals with responsibility for reviewing PG&E’s information
           management and record-keeping systems and their relationship to
22         PG&E’s operations including vegetation management work and PSPS,
23         and to report to PG&E’s CEO, the PG&E Board, the Monitor, parties
           to this action including amici and this court within 180 days about
24         recommended actions to improve PG&E’s information and record-
25         keeping management and the relationship between information
           management and analysis and action to operate safely. PG&E shall fund
26         and support this position as a long-term corporate strategy to identify
27         and remediate deficiencies in PG&E’s information management and
           record-keeping systems, including those of its contracts and
28
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 1         subcontractors, and better use information and records to trigger and
 2
           inform safe operation.

 3
           Analysis: As this Court required in its probation conditions 8 and 10 which
 4
     required PG&E to hire Vegetation Management and Transmission Inspection
 5
     Management teams, ordering PG&E to hire a Chief Data Operations Officer and
 6
     team will ensure that PG&E improves the integrity of its information and record-
 7
     keeping and communication. This step is necessary to ensure that proposed
 8
     probation conditions 11 and 12 transmit complete and accurate information about
 9
     the status of vegetation management and compliance with federal and state law to
10
     the PSPS decision-making process.
11
           PG&E needs accurate and complete information including record-keeping to
12
     communicate to work teams over time, whether hours, days, weeks, months, years,
13
     or decades. PG&E’s recklessly poor job with Data Operations drives many of its
14
     safety violations and its criminal conduct ranging from the San Bruno natural gas
15
     explosion to the many fires its facilities, information, and management failures have
16
     ignited. Without Proposed Condition 13, PG&E’s recklessly poor information
17
     management will undermine compliance with Conditions 11 and 12, other probation
18
     conditions, and fuel public safety danger.
19
        Proposed Condition 14:
20      PG&E shall immediately initiate steps to prevent data falsification or
21      omission. This includes, but is not limited to, issuing orders to its
        employees, contractors, and subcontractors and creating information
22      management and record-keeping systems that prevent: a) the creation of
23      false records such as by “scheduling” inspection or work in the past (a false
        records that makes it appear that work has been done); b) omission of input
24      of information in data fields; c) omission of sufficient information to
25      identify issues and follow-up needs. PG&E shall report to the Monitor, the
        Court, parties including Amici, its CEO and Board within 60 days on steps
26      it has initiated to prevent data falsification or omission.
27

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 1      Analysis: As the court recognized, PG&E’s systems contain false records which
 2   fail to trigger appropriate follow-up such as removal of dangerous vegetation. It
 3   appears that the schedule of inspections in the past may have contributed to the
 4   failure to remove dangerous trees that contributed to the Zogg fire. (OSC, p. 2, 12).
 5   PG&E created systems that allow for input of inaccurate and false information such
 6   as scheduling inspections in the past, omitting critical data, or not providing
 7   sufficient information for follow-up. While businesses across America commonly
 8   adopt practices to prevent these errors, PG&E’s failure to implement data integrity
 9   practices leaves the public at risk. Amicus respectfully suggest this order is
10   necessary to protect public safety, additional offenses while on probation, and to
11   enable the effectiveness of other probation conditions.
12          Proposed Condition 15:
13          PG&E shall within 90 days propose a plan to the Court, the Monitor,
            parties including amici, the CEO, and the Board to use sensors, QR
14          codes, or other markets that actively communicate information
15          (collectively, Internet of Things (IoT) devices) to mark trees for
            removal and track the status of the tree removal process for vegetation
16          management. This proposal shall plan deployment of IoT devices for
17          vegetation management in Tier 2 and 3 High Wildfire Danger zones in
            lieu of using spray paint or other passive markets no later than 180 days
18          after this order. The information from the IoT device shall be integrated
19          into PGE&’s information management, record-keeping, and work
            system to track progress from identification of vegetation requiring
20          additional work such as trimming, removal, or monitoring, to the
21          follow-up work, and the consideration of the status of that work in the
            PSPS process and in PG&E’s daily operations.
22

23          Analysis: As discussed above, PG&E’s continued reliance on spray paint to

24   mark trees for removal effective relies on passive graffiti to communicate next steps

25   to tree trimming or removal crews. PG&E’s practices are decades out-of-date and

26   fail to take advantage of prudent and widespread technologies farmers, the post

27   office, and many businesses uses to track inventory and improve workflow.

28   Ordering PG&E to propose a plan to adopt IoT devices for vegetation management
                                                             5
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 1   in Tier 2 and 3 High Wildfire Danger zones in lieu of using spray paint or other
 2   passive markets no later than 180 days after this order will protect public safety by
 3   informing information management systems and enhancing the ability to track and
 4   communicate critical work. Doing so will protect public safety in a manner no
 5   spray paint can.
 6         Proposed Condition 16:
 7         PG&E shall immediately initiate consideration of the status of information
           management based on the records in its possession, including in the
 8         possession of its contractors or subcontractors, in PSPS and in daily
 9         operation. Within 90 days PG&E shall report to the Monitor, the Court,
           parties including Amici, its CEO and Board about its steps to improve its
10         information management and record-keeping process to improve
11         information integrity, inform analysis, and inform and enhance daily
           operation including PSPS.
12

13         Analysis: PG&E is already required by California law including GO 95 to

14   maintain vegetation management records for at least 10 years and to develop an

15   auditable vegetation management program. Ordering PG&E to report within 90-

16   days about its steps to improve its Data Operations will ensure the integration of

17   accurate data and records into PG&E’s decision-making. Doing so will enhance

18   public safety as the public, including Amici, face continued threats from PG&E’s

19   operations.

20             Northern California experienced a high wind event on January 19, 2021

21   during which PG&E shutoff power to thousands of Californians.2 PG&E reported

22   that it detected windspeeds of up to 100 miles per hour in some locations in its

23   service territory.3 With atmospheric rivers anticipated in Northern California and

24   other conditions, it is likely PG&E customers and residents sharing the air basin

25
     2
26     PG&E, PG&E Crews Out in Force Making Repairs After Offshore Windstorm Sweeps Through
     State, Causing Wind Hazards and Related Outages, PG&E CURRENTS, Jan. 19, 2021,
27   https://www.pgecurrents.com/2021/01/19/pge-crews-out-in-force-making-repairs-after-offshore-
     windstorm-sweeps-through-state-causing-wind-hazards-and-related-outages/.
28   3
       Id.
                                                   6
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 1   with PG&E territory will face more high wind events in the coming years. It is
 2   imperative that this Court order PG&E to improve and report on its Data Operations
 3   to enhance the management of its system, including PSPS planning, avoidance,
 4   execution, daily and strategic planning, to protect life, limb, and property. Doing so
 5   will rehabilitate the Offender and reduce the likelihood of more criminal offenses
 6   including felonies while and after PG&E is on probation, accomplishing the goals of
 7   the federal sentencing guidelines and federal probation.
 8          Amici’s proposed conditions are necessary and appropriate to ensure that
 9   complete and accurate information is considered in deenergization and operational
10   decisions -- critical to both the millions of PG&E customers and those impacted by
11   foul and dangerous air quality when PG&E’s criminal mismanagement ignites a
12   wildfire or causes an explosion.
13          Poor information and record management institutionalizes reckless behavior
14   that enables criminal recklessness and endangers public safety. It creates
15   information blindness, inaccuracy, uncertainty, and undermines operational
16   integrity. Work is wasted because it is not properly tracked for appropriate followup.
17   Lack of information management obscures reasons for failures, e.g. what types of
18   access issues are alleged, how can those access issues be resolved.
19          PG&E has designed a system that depends on the transmission of knowledge
20   and information from one set of workers to another, often separated by significant
21   time periods. A different crew inspects and identifies trees to be removed than the
22   crew which brings chainsaws to remove the trees. Thus, accurate recording and
23   transmission of information and tracking of that handoff process is critical to make
24   sure a tree identified as posing a danger to a line and the community is timely
25   removed.
26          PG&E’s current information system is a reckless design that allows its users
27   to schedule an inspection in the past (which results in no inspection conducted in the
28   future) (See e.g. OSC, p. 2, 12) or to skip critical fields, thus fueling violations of
                                                             7
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 1   law, i.e., Pub. Resources Code § 4293, Pub. Util. Code §§ 451, 8386(a), CPUC
 2   General Order 95, and federal law, FERC FAC-003-4. California Public Utilities
 3   Code § 8386(a) requires that “[e]ach electrical corporation shall construct, maintain,
 4   and operate its electrical lines and equipment in a manner that will minimize the risk
 5   of catastrophic wildfire posed by those electrical lines and equipment.”
 6          As discussed below, the Court’s proposed conditions in the OSC and Amici’s
 7   proposals are imperative to protect public safety and mitigate the potential for
 8   additional offenses while the convicted felon corporation remains on probation.
 9   Amici respectfully recommend this Court reject PG&E’s proposed additions to the
10   OSC.
11      A. The Proposed Probation Conditions, Augmented by Amici’s Suggestion,
12
           Reasonably Relate to PG&E’s Crimes, the Goals of Federal Sentencing,
           and Do Not Interfere with CPUC Jurisdiction
13

14          PG&E’s data management failures are a thread that run through its criminal
15   activity that led to the San Bruno explosion in 2010 and to many of the fires PG&E’s
16   management of its natural gas and electric lines ignited. PG&E’s reckless data
17   management fuels its vegetation management failures and its failure to properly track
18   and follow through with its own work and asset conditions necessary for safe
19   operation. Including provisions in the OSC to improve PG&E’s information
20   management practices will provide the data necessary to prevent PG&E from putting
21   the public in danger through its reckless management.
22          The facts constituting PG&E’s record of reckless operations belie its
23   objections to the OSC’s Proposed Conditions. PG&E argues there is no reasonable
24   relation between its original offenses (violations of the National Pipeline Safety Act
25   and Obstruction of Justice) and the Proposed Conditions relating to its electric
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 1   distribution businesses. 4 PG&E contends without explanation that the Probation
 2   Conditions interfere with California’s authority to regulate PSPS events.5 It also
 3   argues that the Proposed Conditions are not reasonably necessary to accomplish the
 4   purposes of the sentencing. 6 Each of these objections ignores the relationship
 5   between PG&E’s poor information management and record-keeping and its criminal
 6   conduct.
 7             The proposed conditions bear a reasonable relationship to PG&E’s original
 8   offenses because PG&E’s poor information management, record-keeping, and
 9   operational management led to the San Bruno natural gas explosion. PG&E
10   compounded its offenses of the National Pipeline Safety Act by obstructing the
11   NTSB’s investigation, and was convicted of obstruction of justice.
12             In the nearly fifty years between the installation of sub-standard materials that
13   ruptured in the 2010 San Bruno natural gas explosion, and in the decade following
14   that explosion, PG&E failed to properly maintain its records or to manage
15   information critical to its gas and electric operations, and failed to link accurate
16   information (including information about PG&E’s own work and assets) to
17   appropriate action.
18             As a result of its faulty data operations, PG&E failed to conduct appropriate
19   work, and missed work it earlier identified as important, such as failing to remove
20   trees marked as a danger to powerlines, an omission that appears to have contributed
21   to the deadly 2020 Zogg Fire. The proposed conditions that PG&E consider the
22   status of vegetation management in power shutoffs, informed by better information
23   and record management, will prevent the types of offenses which led to the death of
24

25
     4
26     PG&E, Comments, OSC, January 20 2020, note 2 (citing United States v. Lorenzini, 71 F.3d
     1489, 1493 (9th Cir. 1995).
27   5
       Id. (citing see United States v. Lakatos, 241 F.3d 690, 695 (9th Cir. 2001)).
     6
       Id. (citing see United States v. Lorenzini, 71 F.3d 1489, 1493, 1492 (9th Cir. 1995) (See also,
28
     e.g., Dkt. 1195 at 3-6; Dkt. 1187 at 12-17; Dkt. 976 at 13-50.)
                                                         9
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 1   eight people in San Bruno, 84 people in Butte County, and illegal fire(s) committed
 2   while on probation. CalFire, Shasta County, and Sonoma County are investigating
 3   whether PG&E was responsible for other fires ignited during PG&E’s probation
 4   including the Kincade and Zogg Fires.
 5          PG&E’s argument that the Proposed Conditions are not reasonably necessary
 6   to accomplish the purposes of the sentencing, citing U.S. v. Lorenzini, 71 F.3d 1489,
 7   1493 (9th Cir. 1995), are without merit as it ignores the goals of the federal
 8   sentencing guidelines and federal criminal probation. In Lorenzini, the Ninth
 9   Circuit rejected a probation condition requiring the defendant to repay his court-
10   appointed attorneys fees following defendant’s bank fraud conviction. The Ninth
11   Circuit determined that condition was not reasonably related “to the need for the
12   sentence imposed to reflect the seriousness of the offense, to promote respect for the
13   law, and to provide just punishment for the offense,” 18 U.S.C. § 3553(a)(2)(A).
14          In contrast here, requiring PG&E to take the status of information about its
15   vegetation management into account in its power shutoffs and operation, and
16   Amici’s proposals to improve PG&E’s Data Operations, reflect the seriousness of
17   PG&E’s misconduct including its violations of federal and state law, obstruction of
18   justice, and multiple offenses while on probation that resulted in at least 84 deaths.
19   Requiring PG&E to consider its own information and improve its information
20   management and data operations are a just condition of its punishment and should
21   be part of PG&E’s normal operations to protect public safety and ensure compliance
22   with the law. Sadly, PG&E’s record demonstrates the imperative of the Court
23   ordering these measures to protect public safety, deter PG&E from committing more
24   felonies while on probation, and rehabilitate PG&E.
25          While on probation, PG&E’s poor information and operational management
26   and lack of follow-up of its own work caused PG&E to fail to cut down trees
27   identified for removal for over two years – the suspected cause in igniting the 2020
28   Zogg fire per the CalFire investigation.
                                                             10
      AMICI BRIEF IN RESPONSE TO THE COURT’S OSC
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 1             PG&E did not shut off the power in the Zogg fire area, despite urgent tree
 2   removal tasks pending for years in that area. People’s lives depend on this Court to
 3   require improvements in PG&E’s information management to mitigate the
 4   likelihood that PG&E will commit more criminal offenses and harm public safety.
 5   Thus, the probation conditions accomplish the purposes of federal sentencing and
 6   probation.
 7             Neither do the proposed conditions interfere with the CPUC’s jurisdiction.
 8   PG&E’s citation to U.S. v. Lakatos does not support its argument that the Probation
 9   Conditions interfere with California’s authority to regulate PSPS events. The Ninth
10   Circuit in Lakatos held that “[e]nforcement of the district court's condition that
11   Lakatos pay his entire child support debt in twenty-nine months would clearly
12   nullify the effect of the preexisting child support order issued by the California
13   Superior Court.”7 The proposed order does not nullify or contradict any order of the
14   CPUC, neither does it interfere with the CPUC’s jurisdiction over PG&E.
15             The CPUC’s 2020 deenergization decision does not include in its guidelines a
16   requirement that utilities consider the status of vegetation management or improve
17   its information management, record-keeping, or information transmission, as a
18   factor in power shutoff decision-making or its operations. CPUC D. 20-05-051
19   issued on May 28, 2020, required that utilities provide information on their websites
20   regarding “de-energization mitigation efforts” including “asset and vegetation
21   management, sectionalizing, switching, system hardening, and backup power
22   projects they are undertaking to reduce the need for or scope of de-energization
23   events, progress on implementing de-energization mitigation efforts to date, and
24

25

26

27

28   7
         U.S. v. Lakatos, 241 F.3d 690, 695 (9th Cir. 2001).
                                                        11
         AMICI BRIEF IN RESPONSE TO THE COURT’S OSC
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 1   planned dates of completion.”8 Similarly, the CPUC’s 2019 decision on
 2   deenergization policies listed as a finding of fact:
 3             Educating public safety partners and the public about the characteristics
 4
               and factors that the utility considers in determining whether to de-
               energize, such as high temperatures, high wind speeds, dry vegetation,
 5             and low humidity, enables public safety partners and the public to
 6             conduct parallel planning and preparation.9

 7   Neither CPUC decision on deenergization requires PG&E to consider the factors in
 8   the OSC, the status of its vegetation management, nor additional factors Amici
 9   propose below. Thus, Lakatos is inapposite as this Court’s OSC does not undermine
10   any CPUC order, nor conflict with any CPUC decision, nor limit the CPUC’s
11   jurisdiction.
12             The CPUC has not addressed whether vegetation management should be
13   taken into account in deciding where to initiate a PSPS. Neither has the CPUC
14   ordered PG&E to systematically improve its information management and to link
15   those approvals to its PSPS decision-making. The CPUC remains free to analyze
16   these issues and adopt appropriate orders in its future rulemakings. The proposed
17   probation conditions, augmented by Amici’s proposals, fill an immediate safety gap
18   the CPUC has not yet addressed.
19         B. PG&E’s Poor Record-Keeping and Information Management Drive its
20            Criminal Conduct including the San Bruno Explosion, the Camp Fire, and
              other Fires PG&E Ignited While on Criminal Probation
21

22             PG&E’s practices such as its lack of recordkeeping and data integrity resulted
23   in its employees, contractors, and subcontractors failing to maintain records, skipping
24

25   8
       CPUC Decision 20-05-051, DECISION ADOPTING PHASE 2 UPDATED AND
26   ADDITIONAL GUIDELINES FOR DE-ENERGIZATION OF ELECTRIC FACILITIES TO
     MITIGATE WILDFIRE RISK (Rulemaking 18-12-005), Findings of Fact 56, May 28, 2020.
27   9
       CPUC Decision 19-05-042, DECISION ADOPTING DE-ENERGIZATION (PUBLIC SAFETY
     POWER SHUT-OFF) GUIDELINES (PHASE 1 GUIDELINES) (Rulemaking 18-12-005),
28
     Findings of Fact 31, May 30, 2019.
                                             12
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 1   data input into information fields, poor design of record management systems, and
 2   allowing the “scheduling” of inspections in the past. (See e.g. OSC, p. 2, 12). Data
 3   management techniques commonly practiced for widely available Apps do not allow
 4   users to skip input of critical information (such as a zip code or location), or to book
 5   appointments in the past (such as a plane flight or hotel reservation). Despite PG&E’s
 6   operational experience spanning more than a century, substantial personnel,
 7   capitalization, and assets, orders of this Court and the CPUC, PG&E has not managed
 8   its data integrity process and personnel to prevent even the most basic data errors and
 9   mismanagement that fuel its reckless criminal conduct.
10          As the Court’s OSC points out, “[s]ince the commencement of the Offender’s
11   probation alone, PG&E has ignited 20 or more wildfires in California, killing at least
12   111 individuals, destroying at least 22,627 structures, and burning half a million
13   acres.” (OSC p. 2). PG&E is under investigation for whether its operations caused the
14   Zogg fire which took the lives of four people, including a mother and her 8-year-old
15   daughter who unsuccessfully tried to escape the massive fire. The Zogg Fire killed
16   these people while PG&E was under investigation for its role in the Kincade fire
17   which caused widespread property destruction and polluted the air with particulates
18   that compromise lung health. This Court should require conditions that address
19   PG&E’s reckless Data Operations which endanger and take life, damage property,
20   undercut its data vegetation management, and undermine safe operation as required
21   by federal and state law.
22          PG&E’s practice of using spray paint to mark trees to be trimmed or removed
23   compounds the danger of relying on incomplete or inaccurate data entry and
24   information management methods.10 Amici respectfully recommends this Court’s
25   proposed probation conditions be modified to include orders to improve the
26

27
     10
       RESPONSE TO REQUEST FOR FOLLOW UP BY PG&E CONCERNING ITS OCTOBER
28
     26 SUBMISSION, p. 23, Case No. 14-CR-00175-WHA, November 18, 2020.
                                               13
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 1   information created, maintained, and used at PG&E to inform decision-making about
 2   work deployment, vegetation management, electric and gas operation, safety and
 3   reliability conditions and issues, and power shutoffs.
 4        C. PG&E’s Corporate Conduct Constructs Risk and Endangers Public
 5          Safety
 6
            PG&E as a corporate entity, created and maintained a plethora of poor
 7
     information management and record-keeping systems, that thwarted its ability to
 8
     track its own work and transmit knowledge between workers, managers, contractors,
 9
     and subcontractors about what to do. PG&E’s actions impair its vegetation
10
     management and decision-making about its operations including power shutoffs.
11
     This is not a case where a single employee created a poor information management
12
     or vegetation management system.
13
            At issue in PG&E criminal probation is not merely the collective knowledge
14
     available at PG&E, known to its employees, contractors, or subcontractors. Rather,
15
     at issue is PG&E’s creation and maintenance of information and record management
16
     systems so recklessly poor that they undermine individual and collective knowledge
17
     and endanger public safety in violation of California and federal law.
18
            “[E]nsuring that corporations have adequate procedures for generating and
19
     transmitting information through appropriate channels to personnel who can respond
20
     when problems are uncovered” supports “effective corporate compliance.”11
21
     Corporations such as PG&E serve as knowledge-keepers and knowledge-
22
     transmitters. Consistent with the longevity of its operational function and assets,
23
     PG&E must maintain information and knowledge and transmit that information
24
     from one group of workers to another over the course of hours, days, or decades.
25

26

27   11
       Mihailis E. Diamantis, Functional Corporate Knowledge, 61 WM. & MARY L. REV. 319, 326
     (2019).
28
                                                             14
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 1   PG&E constructed systems such as its vegetation management that rely on corporate
 2   knowledge keeping and transmission. One set of workers identifies trees to be
 3   trimmed or removed, and another set of workers brings the tools and chain saws to
 4   trim or remove the trees, hours, days, months, or years later. The smooth and prompt
 5   function of this process depends on maintenance of accurate information and
 6   knowledge systems and timely transmission of correct information.
 7         The CPUC issued billions in penalties against PG&E for record-keeping
 8   failures. Those failures were at the heart of the San Bruno criminal conviction (in
 9   addition to PG&E’s obstruction of justice). The poor record- keeping and
10   information management systems PG&E created, maintains, or ignores, has fueled
11   explosions, fire, death, and destruction. This must stop.
12         This Court has the power to order PG&E to improve its record keeping and
13   information management systems to ensure that its knowledge-keeper failures do
14   not result in more corporate crimes during and following its criminal probation. A
15   large part of what this means is ensuring that corporations have adequate procedures
16   for generating and transmitting information through appropriate channels to
17   personnel who can respond when problems are uncovered.
18         Neither PG&E, nor its contractors or subcontracts can act on information it
19   doesn’t keep and accurately transmit. If the court does not order PG&E to better
20   organize its information and ensure information accuracy, any order to act on the
21   information about the status of vegetation management is meaningless to decision-
22   making about power shutoffs or operation.
23      D. PG&E’s Recklessly Poor Information and Record-Keeping Management
24
           Institutionalize its Dangerous Operation and Undermine Decision-Making

25
           PG&E’s reckless information management appears to have contributed to the
26
     Zogg fire as the tree marked for removal two years earlier was never removed, no
27

28
                                                            15
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 1   inspection occurred before the 2020 fire season, and a tree hitting the line is being
 2   investigated as the cause of the fire that led to the death of two people.
 3          This Court has a duty and opportunity to make sure that PG&E’s poor
 4   information management is not a corporate institutional strategy to keep knowledge
 5   from being readily available, thwarting efforts to hold the corporation accountable
 6   for its criminal and civil conduct. PG&E’s failures to improve its system reflect its
 7   ongoing criminal thinking and reckless behavior that continues to pose a danger to
 8   public safety.
 9          This Court has the jurisdiction and duty to impose probation conditions that
10   help protect community safety and reform the offender. The Court may consider, but
11   need not determine at this juncture, PG&E’s motivation to maintain its recklessly
12   poor information management and record-keeping systems. Jurisdictions
13   considering criminal cases against PG&E for the Kincade and Zogg fires, as well as
14   the CPUC, are advised to probe PG&E’s motivations and information management
15   conduct. Federal and state authorities can also consider whether PG&E’s reckless
16   information management systems that allow for entry of false and misleading
17   information obstruct justice by violating prior court orders.
18           This Court’s OSC expresses concern about PG&E’s deficient and at times
19   erroneous record-keeping as identified by the Monitor:
20           [T]here “continue to be gaps in PG&E’s recordkeeping” of inspections
21
             and vegetation work, in violation of PG&E’s WMP and fourth
             condition of probation. While acknowledging improvements since
22           2019, the Monitor still found troubling errors. For example, within
23           PG&E’s records, “approximately 8,200 trees” displayed risk “scores
             indicating” they should be removed, but were nonetheless “marked in
24           the internal system as not requiring tree work.” The Monitor also
25           reports, “PG&E’s maps for EVM work are still not accurate and
             complete.” Some maps omitted entire segments of circuits. In one case,
26           the Monitor even found a radial clearance violation on the real-life
27           segment of the circuit that was missing from the map; but for the

28
                                                             16
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 1          Monitor’s inspection, this radial clearance violation would remain
 2
            today (id. at 11–13 (emphasis added)).12
            Marking trees needing removal as “not requiring tree work” creates a
 3          false record that prevents subsequent crews from being dispatched to
 4          remove or trim the tree. False, or even poor, record-keeping and
            information management systems institutionalize and digitize danger.
 5          Records PG&E still keeps in analog form (where it has records) are not
 6          integrated with digital records to enable complete and accurate
            information to inform prudent action. PG&E’s criminally reckless
 7          information, record-keeping management            and     information
 8          communications systems that allow such false entries turn trees into
            deadly weapons near uninsulated powerlines and aging facilities.
 9

10           Ordering PG&E to improve its information management systems relevant to

11   its PSPS will help protect the public from death and destruction of property while

12   PG&E is on probation. It will help track vegetation management related failures

13   such as those at issues in the Zogg fire, and failure to complete and track PG&E’s

14   work at issue in the Kincade fire. In both cases, PG&E did not deenergize lines,

15   although awareness of information about work not done or improperly done should

16   have informed those deenergization decisions and initiated immediate work to

17   correct the gap.

18          Cal Fire reportedly blamed “the Kincade Fire – the largest in Sonoma County

19   history – on PG&E’s failure to properly decommission a high voltage line that had

20   once fed power to a shuttered geothermal plant, according to the findings of its final

21   report obtained by NBC Bay Area.”13 “The company’s failure to fully and properly

22   decommission the line, either by deenergizing or removing it, Cal Fire concluded,

23   was the root cause of the fire.”14 “Cal Fire went as far as recommending that PG&E

24

25   12
        OSC, p. 15.
     13
26      Jaxon van Derbeken, Kincade Fire Tied to PG&E Failure to Decommission an Unneeded High-
     Voltage Line – NBC Bay Area, NBC BAY AREA, Oct. 23, 2020,
27   https://www.nbcbayarea.com/news/local/kincade-fire-tied-to-pge-failure-to-decommission-an-
     unneeded-high-voltage-line/2384828/.
28   14
        Id.
                                                   17
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 1   be charged criminally with multiple felony counts for recklessly causing the fire,
 2   which started one year ago.” 15 Professor and former CPUC Commissioner Catherine
 3   Sandoval said “the Kincade fire a year later is yet another product of the company
 4   failing to track problems and deal with them preventatively. “It’s not just sloppy, it’s
 5   wrong,” she said. “The question becomes in legal terms, is it actually criminally
 6   negligent? Is it actually reckless?’’” 16
 7             Poor design of PG&E information management systems allowed conduct that
 8   undermines public safety such as skipping important field, not having information
 9   fields for critical components such as C-hooks, and scheduling inspections in the
10   past (See e.g. OSC, p. 2, 12). Questions remain about whether such conduct was
11   criminal recklessness that led to the 2019 Kincade fire, the 2020 Zogg fire, and the
12   2018 Camp Fire for which PG&E pled to the commission of 86 deadly felonies.
13             Improving PG&E’s information management systems, data integrity, Data
14   Operations, and communication of its information will improve PG&E’s daily work
15   including its decision-making about deenergization. It will enhance visibility into
16   problems that need to be fixed and work that is due or overdue, improving operation
17   and reducing the need for deenergization that disrupts lives and livelihoods for the
18   millions of Californians that have been subjected to frequent PG&E power shutoffs.
19
               III.   PG&E’s Brief Submitted in Response to the OSC is Neither Verified
20
                      by a PG&E Officer Nor Supported by Cited Evidence
21

22         When PG&E pled guilty to 84 felony charges relating to its fire killing 84 people
23   in Butte County, its President stood up in Court and affirmed the plea to each count.
24   Yet here, when responding to this Court’s OSC, brings forth no words of its officers
25   and instead, only the argument of legal counsel as to what it is allegedly doing. By
26

27
     15
          Id.
28   16
          Id.; Professor Sandoval is also one of Amici counsel, here.
                                                        18
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 1   this conduct, PG&E demonstrates its failed “tone at the top” and lack of commitment
 2   to changing its conduct to promote safety. Any unsupported claim of conduct by
 3   PG&E’s counsel should be ignored.
 4          IV.     PG&E’s Brief in Response to the OSC Fails to Recognize PG&E’s
 5
                    Lack of Effective Operation, and its Proposed Additions to the OSC
                    are not Well-Designed to Protect Public Safety, are Vague, and
 6                  Create Trap Doors that Undermine the OSC’s Goal to Protect
 7                  Public Safety

 8          (A) PG&E’s PSPS Decisionmaking and Operation is Not Effective as
 9          PG&E Effectively Admits it Does Not Currently Consider the Status of
            Vegetation Management and Compliance with Federal and State Law
10

11          PG&E contends in its OSC Response Brief (p. 2) that it has developed a

12   “sophisticated and demonstrably effective program” for deenergizations, its “Public

13   Safety Power Shutoff (PSPS) program:

14          PG&E first developed its PSPS program in response to the October
     2017
15          North Bay Wildfires. (Dkt. 976 at 29.) Through large expenditures and
16          the efforts of many PG&E employees, PG&E has evolved it into a
            sophisticated and demonstrably effective program that includes, among
17          many other things, advanced models and analytics developed alongside
18          third-party experts and informed by deep datasets, a wildfire safety
            operations center, one thousand weather stations and over three
19          hundred high-definition cameras, a multitude of new switches and
20          sectionalizers, and training for the hundreds of employees that execute
            PSPS events.
21

22          Sadly, PG&E's management of its electric and gas operations -- including its
23   deenergization decision-making process and operation -- is neither sophisticated nor
24   demonstrably effective. PG&E's failure to professionally and prudently manage
25   information about its work and records of the facilities and assets PG&E installed or
26   purchased, continues to fuel danger. Amici’s proposed probation conditions 13-16
27   will improve PG&E’s decision-making and operational capability to protect public
28   safety and mitigate the likelihood of future PG&E felonies while on probation.
                                                            19
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 1

 2         B) The Scope of PG&E’s PSPS Should Consider Hazardous Vegetation
 3
           Including that Which Borders and is Likely to Make Contact with its
           Lines and Facilities
 4

 5         PG&E effectively admits that it is behind in vegetation management when it

 6   states in its OSC Brief that the “Proposed Conditions will increase the scope of

 7   PG&E’s PSPS events because they add a new trigger for de-energizing lines.” (p. 2)

 8   PG&E’s opposition to factors 11 and 12 raises more questions than they answer.

 9         This is an example of where the lack of an affidavit from any PG&E officer or

10   employee in support of PG&E’s brief leaves this Court and the parties with

11   insufficient information to assess PG&E’s arguments:

12              • Does PG&E admit that it does not at present consider the status of

13                  vegetation management work in deciding which circuits and

14                  communities should endure a PSPS or in planning work to mitigate the

15                  need for PSPS?

16              • Does PG&E admit that it is so behind in its vegetation management work

17                  that having to consider this factor would enlarge power shutoffs? How

18                  large is the footprint likely to endure more PSPS?

19         The status of vegetation management should be a factor in considering PSPS,

20   as well as in daily operations and plans to forestall the need for more power shutoffs.

21   Particularly where PG&E and its contractors or subcontractors have identified trees

22   for trimming or removal, but the required work has yet to be performed, or where

23   inspections and patrols have not been able to evaluate the current conditions,

24   considering the status of vegetation management is crucial to well-planned operation

25   and deenergization decision-making. Accurate and complete information supports by

26   Amici’s proposed conditions 13-16 will foster decision-making that protects public

27   safety and complies with federal and state law.

28
                                                            20
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 1         Regarding the scope of vegetation management considered in PSPS decision-
 2   making, PG&E’s OSC Brief states on p. 4:
 3              In expanding the scope of PSPS for the 2021 fire season to account
 4
                for hazard trees outside the footprint determined by the existing
                PSPS models, PG&E will need to identify those categories of trees
 5              or limbs that are subject to pending work that will be taken into
 6              account.

 7         Proposed condition 11 would require PG&E to consider the status of
 8   vegetation management for “trees and/or limbs bordering those lines” including
 9   violations of federal and state law. PG&E does not explain why trees bordering
10   those lines are “outside the footprint determined by the existing PSPS models.” This
11   provides another example of where an affidavit from a PG&E officer, under the
12   penalty of perjury, would have better informed the court as to the facts underlying
13   these assertions. PG&E should be taking into account hazardous trees and
14   vegetation including those likely to make contact with the line, whether through
15   growth or as windblown hazard due to the type of vegetation (such as a eucalyptus
16   tree whose oily bark tends to peel off).
17         C) PG&E’s Proposal to Limit Condition 11 to Priority 1 and 2
18         Vegetation Lacks Sufficient Information about the Origin of those
           Priorities, What Priority Categories are Omitted, and Analysis of the
19         Likely Public Safety Consequences of Limiting the Probation Conditions
20
           PG&E’s additional proposed language on pg. 4 of its OSC Brief intends to
21
     limit the applicability of Condition 11, but does so in a way that creates
22
     inappropriate escape hatches from the condition and compliance with state and
23
     federal law. PG&E states that its proposal on pg. 4 of its OSC Brief:
24
           “[]is intended to prescribe with specificity the categories of trees and
25         limbs that fit this definition so that the Court, the public and PG&E
26         personnel have a clear and common understanding that the additional
           PSPS blackouts likely to result from the Proposed Conditions will be
27         based on the presence of trees or limbs that present an elevated safety
28
                                                            21
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 1            risk   substantially        above      that         posed   by   healthy    trees.”
 2
              PG&E should be considering trees or limbs that pose an elevated safety risk
 3
     its failure to take appropriate steps to remove hazard trees. PG&E’s attempts to limit
 4
     this consideration are vague, fail to define which types of hazards would be
 5
     excluded by its proposals, and create an escape hatch from the conditions; its
 6
     approach is inconsistent with the intent to protect public safety and rehabilitate the
 7
     offender. Additionally, PG&E’s proposals to exclude vegetation management where
 8
     there was an “access issue” are inconsistent with the goals of its federal criminal
 9
     probation and California law under the Cal Pub. Util. Code and GO 95.
10
              PG&E proposes on pg. 4 of its OSC Brief to limit condition 11 to vegetation
11
     it classifies at Priority 1 or 2, but fails to identify the origins of those classifications
12
     or include analysis of what those classifications would exclude. PG&E proposes:
13
              In determining which distribution lines to de-energize during a PSPS
14            event, PG&E will implement this condition by July 1, 2021 by
15            considering the existence of all outstanding vegetation management
              work tagged “Priority 1” or “Priority 2” within PG&E’s service
16            territory that is subject to potential de-energizations. 17
17
              Amici respectfully suggest this Court require PG&E to provide this Court and
18
     the public, including Amici, more information about its “priority 1 and 2”vegetation
19
     management categories, including information about whether there are other
20
     applicable classifications, the origins of the classifications, and analysis of excluding
21
     other classifications from the probation condition order.
22
              PG&E states on pg. 5 of its OSC brief that it:
23
              “uses two tags—Priority 1 and Priority 2—for priority work where
24            trained vegetation inspectors identify trees or limbs that currently
25            present elevated risk and must be worked on an expedited basis.
              Inspectors use Priority 1 tags for vegetation (i) in contact or showing
26            signs of previous contact with a primary conductor; (ii) actively failing
27

28   17
          PG&E OSC Brief, p. 4.
                                                             22
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 1          or at immediate risk of failing and which could strike PG&E’s facilities;
 2          or (iii) presenting an immediate risk to PG&E’s facilities. Inspectors
            use Priority 2 tags for vegetation that does not rise to the level of
 3          Priority 1 vegetation, but has encroached within the PG&E minimum
 4          clearance requirements or has an identifiable potential safety issue
            requiring expedited work.”
 5

 6          PG&E offered no description for other priority vegetation categories. Neither

 7   did it explain where these priorities come from. Neither CPUC General Order 95 nor

 8   its deenergization orders, D.1905042 and D.20-05-051, Rulemaking 18-12-005

 9   contain these classifications.

10          PG&E’s arguments fail to state in which priority tier it classified the grey pine

11   tree under investigation in the Zogg fire. (See OSC p. 11 for a photo of the grey pine

12   tree under investigation as a cause of the Zogg fire). The OSC state on pg. 6 that

13   “PG&E found that 334 trees or limbs fell on distribution lines during just four

14   PSPSs in October. Of these fallen trees, PG&E estimated that 234 would have

15   caused arcing (in which electricity would have flown to the closest conducting

16   surface, such as the dry, grass-covered earth).” However, PG&E has yet to publicly

17   release information about those 334 trees and limbs or its analysis of why they fell

18   on distribution lines in the October 2019 windstorms.

19          Neither has PG&E explained to this Court and the parties which priority tier

20   those trees and limbs were classified in, whether priority 1, priority 2, or some other

21   unnamed priority. Without that information, this Court and the parties before it

22   cannot analyze PG&E’s proposal to limit mandatory consideration of vegetation

23   management to priority 1 and 2 vegetation as PG&E has not told us what this would

24   omit or informed the Court of its analysis of the consequences of such exclusion.

25          PG&E fails to explain what its timeline is for other priority categories when it

26   states on p. 5 of its OSC Brief that “PG&E’s policy calls for all Priority 1 trees to be

27   worked within 24 hours. PG&E’s policy calls for Priority 2 trees to be addressed

28   within 30 days, absent access issues.” Neither does PG&E explain its process or
                                                             23
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 1   timeline for resolving access issues. CPUC General Order 95 Rule 18 recognizes
 2   that access issues can reasonably extend the deadline for addressing vegetation
 3   management issues, but this does not create an indefinite timeline. Neither does it
 4   absolve PG&E of its duty to operate safely under CA PU Codes 451 and 8386(a),
 5   Public Resources Code Section 4293, GO 95, FERC FAC-003-4.
 6         D) PG&E Should be Required to Immediately Comply with the Proposed
 7         Probation Conditions; Compliance by July 2021 is Too Late to Protect
           Public Safety
 8

 9         PG&E proposes a more than six-month delay in the timeline to comply with

10   the Court’s proposed probation conditions, requesting a July 1 start date through its

11   additions in bold to condition 12:

12         Proposed Condition 12: To the extent that such information shows that
           such trees and limbs present a safety hazard in the event of a windstorm,
13         PG&E must make a specific determination with respect to that
14         distribution line and it must de-energize it unless PG&E finds in writing
           that there are specific reasons to believe that no safety issue exists.
15         PG&E will implement this condition by July 1, 2021 by developing
16         a methodology to de-energizeline segments in areas subject to
           potential de-energizations thathave outstanding Priority 1 or
17         Priority 2 vegetation management work when forecast conditions
18         are above specified fire-risk thresholds, absent a documented
           determination that de-energization is not warranted. (OSC Brief,
19         p. 6)
20
           PG&E’s proposed delay endangers public safety for too long. PG&E is
21
     currently required by CPUC General Order 95, Rule 18 to maintain records and an
22
     auditable maintenance program for their facilities.
23
           Amici recommend this Court order PG&E to comply with Condition 12
24
     immediately, or that PG&E provide a declaration as to why it cannot do so
25
     immediately, despite the Court’s previous orders and requirements of the CPUC
26
     including General Order 95.
27

28
                                                            24
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 1         Likewise, PG&E’s proposed three-month timeline to report to the Court and
 2   monitor on its PSPS thresholds that account for the status of its vegetation
 3   management is unacceptable and dangerous:
 4         Because these thresholds will serve as an additional trigger for de-
 5
           energizations of residences and businesses, the precise mechanics of
           calculating and setting those thresholds will be based on expert analyses
 6         over the coming months. Given the potential public safety risks posed
 7         by larger de-energizations, these analyses will need to consider how
           many customers may lose power in potential events and how long they
 8         may remain without power. PG&E will share those finalized thresholds
 9         and the methods for implementing them with the Court and the Monitor
           in the next three months.
10

11         Amici respectfully recommend this Court order PG&E to report to the Court,
12   the Monitor, and parties (including Amici) within three months about its
13   improvements to its information management system to improve vegetation
14   management and information relevant to daily operation, including PSPS. Amici
15   also respectfully recommend this Court order PG&E to report in that 3-month period
16   its hiring a Data Operations executive and team that reports to the CEO and to the
17   Monitor and Board.
18          E) PG&E Effectively Admits that its Poor Information Management Does
19          Not Currently Support Consideration of its Vegetation Management in its
            PSPS Decision-making, Despite GO 95, Rule 18’s Requirement that
20          Utilities Create an Auditable Vegetation Management Program
21
           PG&E tacitly admits that its poor information management does not currently
22
     support consideration of its vegetation management in its PSPS and operational
23
     decision-making:
24
           While PG&E’s current infrastructure does not provide a means by which
25         outstanding Priority 1 and Priority 2 trees are readily incorporated into the
26         PSPS-scoping process, PG&E will build the systems and tools needed to
           streamline the availability of Priority 1 and Priority 2 tree data to the team
27         that is scoping PSPS events in a manner that can be integrated with the
28
                                                            25
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 1          meteorological and other tools used to scope PSPS events. (OSC Brief, p. 6)
 2
            CPUC General Order 95, Rule 18(2)(a) requires that all companies subject to
 3
     the rule “shall establish an auditable maintenance program for their facilities and
 4
     lines.” PG&E fails to explain why that auditable maintenance program and records
 5
     required for compliance with GO 95 and other CPUC rules are not already readily
 6
     available to PG&E teams making decisions about PSPS events, work to prevent
 7
     PSPS events, and for daily operation and strategic decision-making.
 8
            Proposed probation conditions 11 and 12, supplemented by Amici’s proposed
 9
     conditions 13-16, will ensure that PG&E takes its vegetation management status into
10
     account, rather than leaving it to PG&E’s indefinite timeline to build systems and
11
     tools to integrate vegetation management into PSPS. Proposed conditions 11-12 and
12
     Amicis’s proposed conditions 13-16 are appropriate to establish a timeline to
13
     improve information and record management and communication of information to
14
     PG&E decision-making and work teams, so that work is appropriately and timely
15
     done to protect public safety from this recidivist felon, PG&E. PG&E should report
16
     to this Court, the monitor, the parties to this proceeding, the CPUC, and the public
17
     on its success in meeting the timeline under GO 95 and any priority categories, and
18
     in resolving access issues.
19
            F) Access Issues Do Not Provide an Escape Hatch from the Duty to Comply
20          with Federal or State Law or PG&E’s Probation Conditions; PG&E
21          Should Document Access Issues and take Appropriate Steps to Resolve
            Them Promptly
22

23          PG&E’s brief implies that access issues should create an escape hatch from
24   compliance with the proposed probation conditions. PG&E’s OSC Brief, p. 5, states
25   “PG&E’s policies will call for non-priority trees in high fire threat areas with strike
26   potential that are flagged for removal because they show signs of mortality to be
27   addressed within six months, absent access issues.” Its brief fails to provide any
28   information about what PG&E is doing to resolve access issues, or to recognize that
                                                             26
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 1   access issues do not absolve it of the duty to comply with its probation conditions or
 2   federal or state law.
 3          Clearing a hazardous tree needs to be treated as seriously as dealing with any
 4   deadly hazard. The person brandishing a gun poses an unlawful risk of death and
 5   PG&E should provide appropriate information so law enforcement authorities can
 6   appropriately deal with that threat. A tree too close to the line or vegetation that
 7   threatens contact with a line or utility facilities also poses a deadly threat that needs
 8   to be eliminated appropriately and swiftly
 9          PG&E’s November 18, 2020 “RESPONSE TO REQUEST FOR FOLLOW
10   UP PG&E CONCERNING ITS OCTOBER 26 SUBMISSION” described an
11   incident it might categorize as an “access” issue, but its OSC Brief fails to explain
12   whether this is the type of incident that PG&E argues should create an effective
13   exemption from complying with the probation condition. PG&E’s states:
14          PG&E is aware that work in the Zogg Mine Road area was interrupted
15
            in October 2018 due to interactions with a resident of Zogg Mine Road,
            who believed that PG&E crews were cutting trees unnecessarily and
16          had previously brandished a firearm to tree crews attempting to work
17          in the area and was threatening to do so again. PG&E is also aware
            based on its records that inquiries were subsequently made in October
18          2018 about attempting to secure help from law enforcement to stand by
19          and protect tree crews against the resident that had brandished a
            firearm. Among other things, PG&E is investigating what role, if any,
20          that work interruption played in the two Gray Pines apparently not
21          having been worked.18

22   This incident happened nearly two years before the Zogg fire. PG&E failed to
23   explain and document whether it attempted to secure law enforcement help to
24   protect tree crews doing work, or any other efforts to use the civil process or
25

26

27
     18
      PG&E, RESPONSE TO REQUEST FOR FOLLOW UP PG&E CONCERNING ITS
28
     OCTOBER 26 SUBMISSION, Case No. 14-CR-00175-WHA, p. 25, November 18, 2020.
                                           27
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 1   coordinate with law enforcement to complete necessary work. It cannot claim
 2   “access issues” as a means to avoid the work so critical to public safety.
 3          Amici’s proposed conditions 13-16 will promote better information
 4   management to track alleged “access” issues and deal with them in a timely manner.
 5   Without such a requirement, its allegations about access are a mere excuse to put the
 6   removal on an indefinite schedule or on the “never” schedule.
 7          This Court should reject PG&E’s proposal on p. 5 of its OSC brief to deem
 8   access issues as an escape hatch from the probation conditions. PG&E proposed
 9   “policy PG&E is in the process of implementing for the 2021 fire season, trees
10   identified as dying will be removed within six months, absent access issues.” (Id. at
11   5). PG&E’s proposal is inconsistent with California law and common sense.
12   General Order 95, Rule 18 does not allow access issues to create an exemption from
13   compliance with that order or from PG&E’s safety responsibilities. It only allows a
14   reasonable extension of the time for compliance with the rules, where appropriate.
15          General Order 95, Rule 18(a)(2)(b) states, in pertinent part:
16          Correction times may be extended under reasonable circumstances, such as:
17                       ·    Third party refusal
                         ·    Customer issue
18                       ·    No access
19                       ·    Permits required
                         ·    System emergencies (e.g. fires, severe weather conditions)
20

21          GO 95, Rule 18 only allows for extension of time under reasonable

22   circumstances to comply with the Order’s rules. It does not excuse vegetation

23   management duties. PG&E is required to initiate procedures to obtain access

24   including where appropriate, requesting the assistance of local law enforcement or

25   using civil process to obtain access if letters and inquiries are unsuccessful.

26          Allegations about access issues should not excuse failure to remove trees

27   within 30 days, but instead should trigger appropriate escalation and support

28   procedure so that removal is promptly accomplished, not years later. PG&E’s poor
                                                             28
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 1   record-keeping about access issues thwart the follow-up to resolve those issues.
 2   Lack of follow-up within a reasonable time both fuels danger and reflects PG&E’s
 3   non-compliance with this court’s orders and California and federal law.
 4

 5

 6      V. PG&E’s Failure to Document, Follow-up, and Resolve Access Issues
 7         Violates its Duty of Safe Operation and Raises Concern that PG&E’s
           Conduct Obstructs Justice
 8

 9      PG&E’s probation conditions modified on April 2019 required, among other

10   things, that PG&E:

11            1.     PG&E must fully comply with all applicable laws concerning
              vegetation management and clearance requirements, including Sections
12            4292 and 4293 of the California Public Resources Code, CPUC General
13            Order 95, and FERC FAC-003-4.19
              ***
14            4. PG&E shall maintain traceable, verifiable, accurate, and complete
15            records of its vegetation management efforts. PG&E shall report to the
              Monitor on the first business day of every month on its vegetation
16            management status and progress, and make available for inspection all
17            related records at the Monitor’s request.

18            Additional conditions were added per the Offender’s Stipulation with the
19   Monitor and the U.S. DOJ to require: (Condition 8) an in-house vegetation
20   management inspection manager to oversee a number of workforce resources;
21   (Condition 9) a reasonable search for information about transmission asset age and,
22   where available, for PG&E to record the age and date of installation of those
23   components; and (Condition 10) a Transmission Inspection Program.
24            PG&E’s responses in its brief and answer to the question about the Zogg fire
25   raise concerns about whether PG&E has fully complied with its probation
26

27
        19
             Dkt. No. 1040, April 2019. OSC p. 4.
28
                                                            29
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 1   conditions. PG&E’s apparent failure to take steps necessary to track and execute
 2   removal of a tree identified as hazardous, its years long delay in such removal as
 3   indicated by the facts relevant to the Zogg fire, raise questions about whether
 4   PG&E’s conduct obstructs justice. By not maintaining adequate records of its work
 5   and allowing false information to be input such as scheduling inspections in the past
 6   (See OSC pp. 2, 12, and PG&E Nov. 2018 brief, p. 18), PG&E’s conduct obstructs
 7   justice by making it exceedingly difficult for federal or state authorities or PG&E to
 8   monitor compliance with federal and state law.
 9         PGE&’s lack of records about access issues and its follow-up to resolve them
10   also frustrate analysis about steps needed to promote access. With more information,
11   the CPUC could order PG&E to conduct public relations campaigns and coordinate
12   with state and local government and law enforcement to educate the public about
13   access needs. This information can identify the need for clarity about when permits
14   are required for vegetation removal, and underscore the need to ensure that removal
15   is done properly, for example that PG&E does not cause erosion or other problems
16   in the course of vegetation inspection and removal.
17         VI.      This Court Should Order PG&E to Use Internet of Things Devices
18
                    Such as Chips or QR Codes Instead of Spray Painting Trees in
                    High Wildfire Danger Zones to Protect Public Safety
19

20         PG&E’s current practice of spray-painting trees to tag them for trimming or

21   removal (PG&E Nov. 18 Brief, p. 23) has left crews to guess in some instances

22   about which tree to remove, particularly as spray paint color fades over time or

23   people paint over the spray paint.

24         This Court should require PG&E to initiate modern systems such as using

25   sensors or QR codes linked to information management systems to provide the

26   tree’s geolocation and information about the tree including tracking its removal

27   timeline. Businesses from Amazon to the post office use QR codes to track packages

28
                                                            30
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 1   and mail ballots. 20 Farmers are increasing embedding sensors in the soil to measure
 2   moisture, humidity, and other factors. 21
 3          PG&E remains stuck in the 1980s with its spray paint cans, graffitiing trees
 4   with these very important symbols that signify work to be done. Yet, time, rain,
 5   more spray paint, vegetation overgrowth and other factors can obscure these signs.
 6   Subsequent trimming and removal work may be missed and crews left to guess
 7   about which vegetation to trim or remove. Use of sensors, QR codes, and other IoT
 8   devices can create geolocation and identification tags that will better track and
 9   identify work to be done and protect public safety.
10          The Zogg fire highlights the faults with PG&E’s spray paint method. When
11   much better methods are commonly used for tracking workflow in the twenty-first
12   century, it does not reflect prudent management for PG&E to continue to rely on
13   spray paint cans to avoid potentially deadly contact between a tree and a live electric
14   wires or facilities.
15          Amici respectfully recommend this Court consider condition 15 to bring
16   PG&E’s work to modern standards to avert ongoing safety hazards and improve the
17   tracking of work to be done near PG&E’s lines. Approving Amici’s proposed order
18   will promote information integrity, work tracking, and communication to better
19   inform decisions about deenergization, work to prevent the need for power shutoffs,
20   daily, and strategic operation.
21

22

23   20
        United States Post Office, Office of the Inspector General, Package Delivery Scanning-
24   Nationwide, Oct. 27, 2017, https://www.uspsoig.gov/document/package-delivery-scanning-
     %E2%80%95-nationwide; Amazon, Interactive: Unpack your Label, Interactive: Unpack your
25   label,
     https://www.aboutamazon.com/news/interactive-unpack-your-label (last visited Jan. 23, 2021).
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     21
      Sanjeev Verma, How IoT Soil Condition Monitoring Is Empowering Farmers, IOT FOR ALL,
27   Nov. 6, 2019, https://www.iotforall.com/soil-moisture-monitoring.
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                                                             31
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 1         VII. Conclusion
 2
           In closing, Amici respectfully request consideration and entry into the record of
 3
     this brief responding to the OSC. We ask to be heard at the hearing on this matter so
 4
     that the Court can consider facts and a perspective otherwise absent from the record
 5
     before this Court. We appreciate the Court’s consideration of Amici’s arguments and
 6
     suggestions respectfully submitted to protect public safety, compliance with federal
 7
     and state law, and to promote PG&E’s rehabilitation to better serve Californians and
 8
     all affected by PG&E’s conduct.
 9

10                                                   Respectfully submitted,
11
                                                     CATHERINE J. KISSEE-SANDOVAL
12                                                   Associate Professor
13                                                   Santa Clara University School of Law

14   Dated: January 27, 2021                         /s/Catherine J.K. Sandoval, Esq.,
15

16                                                   AGUIRRE & SEVERSON, LLP
17
     Dated: January 27, 2021                          /s/Maria C. Severson
18
                                                     Maria C. Severson, Esq.,
19                                                   Attorneys for Amici Petitioners
                                                     Alex Cannara and Gene A.Nelson
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